




NO. 07-04-0293-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



AUGUST 16, 2004

______________________________



ROBERT BOBBY CASTILLO, JR.,



Appellant



v.



THE STATE OF TEXAS, 



Appellee

_________________________________



FROM THE COUNTY COURT AT LAW #1 OF RANDALL COUNTY;



NO. 2003-0559-L; HON. JAMES W. ANDERSON, PRESIDING

_______________________________



Before QUINN, REAVIS and CAMPBELL, JJ.

Appellant Robert Bobby Castillo, Jr., by and through his attorney, has filed a motion to dismiss this appeal because he no longer desires to prosecute it. &nbsp;Without passing on the merits of the case, we grant the motion to dismiss pursuant to Texas Rule of Appellate Procedure 42.1(a)(2) and dismiss the appeal. &nbsp;Having dismissed the appeal at appellant’s request, no motion for rehearing will be entertained, and our mandate will issue forthwith.

Brian Quinn

 &nbsp;&nbsp;Justice

Do not publish.


